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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                         GREAT FALLS DIVISION

 UNITED STATES OF AMERICA,                          CR 23-3-GF-BMM

                  Plaintiff,

 vs.                                                      ORDER

 BRIAN DEAN BELL,

                 Defendant.


         Defendant Brian Dean Bell having filed an Unopposed Motion to Enlarge

Time to File Pretrial Motions requesting a two-week extension, there being no

objection from the government and good cause appearing therefor;

IT IS HEREBY ORDERED that Defendant Bell’s motion is GRANTED.

Defendant Bell shall file any pretrial motions on or before Friday, October 6,

2023.

       DATED this 22nd day of September, 2023.




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